




















Opinion
issued January 26, 2012.

&nbsp;

&nbsp;



&nbsp;

&nbsp;

In The

Court of Appeals

For The

First District of Texas

&nbsp;



&nbsp;

NO. 01-11-00335-CV

&nbsp;



&nbsp;

HENRIETTA BRITTON, Appellant

&nbsp;

V.

&nbsp;

NOTTINGHAM VILLAGE, Appellee

&nbsp;



&nbsp;

On Appeal from the County Civil
Court at Law No. 4

Harris County, Texas

Trial Court Cause No. 988444

&nbsp;



&nbsp;

MEMORANDUM
OPINION








Appellant, Henrietta Britton, has failed to timely file a
brief.&nbsp; See Tex. R. App. P. 38.8(a) (failure of
appellant to file brief).&nbsp; After being
notified that this appeal was subject to dismissal, appellant did not
adequately respond.&nbsp; See Tex. R. App. P. 42.3(b) (allowing
involuntary dismissal of case).

We dismiss the appeal for want of prosecution
for failure to timely file a brief.&nbsp; 

We dismiss any pending motions as moot.

PER
CURIAM

Panel consists of Chief Justice Radack and Justices Higley and Brown.





